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                STATE BAR OF TEXAS


Office of the Chief Disciplinary Counsel

October 19, 2022



Re: Ms. Sahar Fathi Aziz, State Bar Number 24045429


To Whom It May Concern:

This is to certify that Ms. Sahar Fathi Aziz was licensed to practice law in Texas on November 05,
2004, and is an active member in good standing with the State Bar of Texas. "Good standing" means
that the attorney is current on payment of Bar dues; and is not presently under either administrative
or disciplinary suspension from the practice of law. However, because the attorney has chosen an
exemption from Minimum Continuing Legal Education, they are not eligible to practice in the State
of Texas.


This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
operation of rule or law.


Sincerely,




Seana Willing
Chief Disciplinary Counsel
SW/web




   P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
